Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 1 of 10 Page ID #:2095




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   Cesar Morales, Ernest Morrison, Debra Cordes,
 8 Denis O'Leary, Veronica Robles-Solis, and
   Monica Madrigal Lopez
 9
                              UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
11
     J.R., a minor, by and through her            )   Case No.: 2:17-cv-04304-JAK-FFM
12   guardian ad litem, Janelle Mccammack;        )
     M.B .. amino!, by and through he_r               [CORRECTED]
13   guardian ad htem, F.B.; LG., a mmor, by      )
     and through his guardian ad litem, M.E.,     )
14   on behalf of themselves and all those        )
     similarly situated,                              DECLARATION OF AMELIA
15                                                )
                                                      SUGDEN IN SUPPORT OF
                                Plaintiffs,       )   DEFENDANT'S OPPOSITION TO
16                      v.                        )   PLAINTIFFS' MOTION FOR
17   OXNARD SCHOOL DISTRICT;                      )   CLASS CERTIFICATION
     CESAR MORALES, Superintendent of             )
18   Oxnard School District, m his official       )
     capacity; ERNEST MORRISON,
19   President of the Board of Trustees, in his   )
     official capacity; DEBRA CORDES,             )
20   Clerk oftfie Board of Trustees, in her       )
     official capacity; DENIS O'LEARY
21   Trustee of the Board of Trustees, in his     )
     official capacity; VERONICA ROBLES-          )
22   SOLIS, Trustee of the Board of Trustees,     )
     in her official capacity; MONICA
23   MADRIGAL LOPEZ. Trustee of the               )
     Board of Trustees, in her official           )
24   capacity; and DOES 1 TO 10, inclusive        )
25                               Defendant        )
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Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 2 of 10 Page ID #:2096




     1                                  Declaration of Amelia Sugden
  2               I, Amelia Sugden, declare as follows:
  3               1.    I have personal knowledge of the facts set forth in this declaration and, if
  4       called as a witness, I could and would testify competently about these facts.
  5                                      Background and Credentials
  6               2.    I am the current Director of Special Education Services at the Oxnard School
  7      District ("OSD" or "District''). I have served in this capacity since the October 2015. Prior
  8      to becoming the Director of Special Education at OSD, I was a Principal for eight years
 9       in OSD between June 2007 and August 2015. Prior to becoming a Principal, I was a
1O Professional Development Coordinator for OSD for five years between 2002 and 2007
11       and an Adjunct Professor at California Lutheran University, where I taught current literacy
12       research and best practices to teachers earning a Master's Degree. Prior to becoming an
13       administrator, I was a classroom and reading resource teacher in OSD for five years
14       between 1997-2002.
15                3.    I have a Masters of Science in Curriculum and Instruction from Walden
16       University and a Bachelor of Arts from the University of California, Davis in International
17       Relations and Affairs. I also have a Multiple Subject teaching credential and a Bilingual
18       Cross-Cultural Language Academic Development (BCLAD) certificate in Spanish.
19       Attached hereto as Exhibit A is a true and correct copy of my most current resume.
20               4.     As the Director of Special Education at OSD, my job duties include
21       providing oversight of the delivery of special education services to students in the
22       Oxnard School District as provided by the IDEA, including reviewing of current needs
23       that may require additional resource development; maintaining up to date information on
24 the current law and best practices for our programs; serving as the district representative
25       at our Special Education Local Plan Area (SELPA); and compiling information for State
26       and Federal reporting purposes.
27       III
28       III
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               Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                                       Motion for Class Certification
Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 3 of 10 Page ID #:2097




     1                               OSD's Special Education Programs
     2          5.     OSD is part of the Ventura County Special Education Local Plan Area
     3   (SELPA). The range of special education programs at OSD includes Infant, Early
     4   Intervention 0-3 and Pre-K programs, and Resource Specialist Programs ("RSP"), Mild-
     5   to-Moderate and Moderate-to-Severe self-contained classrooms in the Transitional
     6   Kindergarten to 8 th grade programs. OSD also has programs to support students who are
     7   Deaf and Hard of Hearing ("DHH"), Visually Impaired ("VI"), in need of Occupational
     8   Therapy ("OT") or Adaptive Physical Education ("APE"), and to support Behavior and
 9       Autism Strands.
 10                          2011 OCR Complaint and Resolution Agreement
11             6.     I am aware of the decision issued by the U.S. Department of Education,
12       Office for Civil Rights ("OCR") in OCR case no. 09-10-1242 in which the District,
13       without admitting to any violation of law, entered into a Resolution Agreement to resolve
14       the issues investigated by OCR under Section 504 of the Rehabilitation Act of 1973 and
15       Title II of the Americans with Disabilities Act of 1990. The decision was issued January
16       11, 2011. Pursuant to the Resolution Agreement, the OSD was required to do the
17       following:
18                    a.    Develop or revise, as needed, its Section 504 policies and procedures
19                    to ensure that students with disabilities are provided with a free appropriate
20                    public education (F APE), including the timely referral, evaluation,
21                    identification, and placement of students with disabilities under Section 504,
22                    the full implementation of F APE determination (i.e. all services and
23                    placement provisions) made for students with disabilities under Section 504,
24                    and the monitoring and periodic re-evaluation of students with disabilities as
25                    required under Section 504.
26                    b.    Consider revising its Uniform Complaint Procedures to include OCR's
27                    contact information for parents/guardians to file a complaint if they are
28                   dissatisfied with the District's grievance process.
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            Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                                       Motion for Class Certification
Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 4 of 10 Page ID #:2098




     1                 c.     Conduct Section 504 training for relevant administrators and staff on

     2                 the District's legal obligations to provide a FAPE to students with disabilities

 3                     and on the District's Section 504 grievance procedures.
 4                     d.     Issue a letter to parents/guardians of students who were found not
 5                     eligible for special education services under the Individuals with Disabilities
 6                     Education Act (IDEA) in the 2009-10 or 2010-11 school year to inform
 7                     parents/guardians of their right to request an evaluation under Section 504 or
 8                     to appeal a denial of an evaluation through due process or fair hearing
 9                     procedures.
10                     e.    Provide notice to parents/guardians of the District's revised Section
11                     504 policies and procedures by posting them on the District website and
12                     including relevant information in the next publication of the District's
13                     student/parent handbook.
14                    f.     Take all necessary steps to implement the Student's Individualized
15                    Education Program (IEP), dated October 7, 2010.
16              7.    My understanding is that the District fulfilled all of its obligations under the
17       Resolution Agreement based on a letter that the District received from OCR dated October
18       7, 2011, in which Arthur Zeidman, the Regional Director ofOCR's San Francisco office,
19       wrote that "the District has fulfilled all of its obligations under the [Resolution Agreement]
20       and, accordingly, is closing the monitoring of this case as of [October 7, 2011]." Attached
21       hereto as Exhibit B is a true and correct copy of the October 7, 2011 letter from OCR.
22              Training for Site Administrators, School Staff, and Special Education Staff
23             8.     Since I became the Director of Special Education at OSD, the Special
24       Education Department hosted a professional development training on Child Find for our
25       School Principals to review the District's responsibility for Child Find, the pre-referral
26       process, and Student Success Teams (SSTs). The Pupil Services Department provided
27       training for School Principals regarding the Coordination of Services Team (COST) and
28       Student Success Teams (SSTs). The Special Education Department has also provided
                                                  3
            Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                                    Motion for Class Certification
Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 5 of 10 Page ID #:2099




 I   training for Assistant Principals, School Psychologists, Speech Pathologists, and Special
 2   Education Teachers at job-alike meetings.
 3          9.    At the beginning of the 2017-2018 school year, the Special Education
 4   Department also hosted a training for all general education teaching staff,
 5   paraprofessionals, aides, student study team members, school administrators, service
 6   providers, counselors, school psychologists, speech and language therapists, and any other
 7   school staff who worked with parents and students on their educational programs at Soria
 8   Elementary School, Elm Elementary School, and Sierra Linda Elementary School. The
 9   training addressed special education eligibility, child find duties, and the ability to directly
IO   refer a student for assessment, and provided guidelines to identify students who might
11   have disabilities and might benefit from special education services. The Special Education
12   Department plans to conduct a similar training to all of the staff at all the remaining school
13   sites between January and March 2018.
14          10.    The District has also provided professional development for special
15   education teachers for use of new assessments and for determining present levels and goals

16   setting.
17                                           Personnel Hiring
18          11.    Since I became Director of Special Education at OSD, the District has hired

19   the following:
20                 •   1 full-time Special Education Manager to help the Special Education

21                     Department to carry out its day-to-day work and to support the school

22                     sites. 1 of the fulltime Managers is dedicated to our infant, early childhood

23                     and pre-school programs.

24                 •   1 itinerant Assistant Principal to support K-5 sites with large special

25                     education caseloads
26                 • 3 full-time interpreters/translators to clear a backlog of untranslated IEP

27                     documents and to maintain the District's current turnaround time of two

28                     weeks;
                                               4
         Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                                 Motion for Class Certification
Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 6 of 10 Page ID #:2100




 1               • 4 full-time School Psychologists, 3 part-time School Psychologists, and 1

 2                   part-time Psychologist Mentor so support all of the School Psychologists;

 3               •   1 full-time Speech Pathologist and 1 part-time Speech Pathologist to

 4                   support OSD's Building Early Success Together (BEST) program for

 5                   preschoolers;

 6               •   5 Speech Pathologist Assistants;

 7               • 3 Occupational Therapists

 8               • 2 Teachers on Special Assignment ("TOSA") to prepare curriculum for

 9                   both the Mild-to-Moderate and Moderate-to-Severe programs with a

10                   focus on literacy development and applied science for OSD's Extended

11                   School Year program; and

12               • 2 itinerant teachers to support teachers on leave and growing caseloads.

13         12.   The District has also hired the following specialists:

14               •   2 teachers for the Deaf and Hard of Hearing program at Thurgood

15                   Marshall School and 1 itinerant teacher for the Deaf and Hard of Hearing;

16               •   1 itinerant teacher for the Visually Impaired program, which was moved

17                   from McKinna Elementary School to Thurgood Marshall School (K-5)

18                   and Frank Middle School (6-8); and

19               • 2 Family Liaisons were added to the Pre-school program to support

20                   families with the transition in services from the Tri County Regional

21                   Center (TCRC) to the Oxnard School District.

22               • 2 Behavior Specialist to support the behavior needs of students with IEP's

23                   and to develo9p a program to address the needs of students with eligibility

24                   of emotional disturbance.

25                                   Early Childhood Programs

26         13.   Since I became Director of Special Education at OSD, OSD site
27   administrators and School Psychologists have been directed to conduct systematic reviews
28   of all preschool students who were receiving interventions and/or had been referred to a
                                                5
         Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                                  Motion for Class Certification
Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 7 of 10 Page ID #:2101




     I    Student Study Team ("SST") to identify students that should be considered for full
     2    assessment.
     3           14.    In order to accommodate the growing number of referrals to OSD's infant
     4    and early childhood programs from local pediatricians, community partners, and the Tri-
 5        Counties Regional Center, the District has successfully completed Phase One of
 6        restructuring the Infant, Building Early Success Together (BEST), and San Miguel Pre-
 7        school program and delivery of services at one combined facility. The District has also
 8        assigned a full-time Special Education Manager to the pre-school, and eliminated two
 9        Office Assistant positions and replaced them with an Office Manager and an Attendance
1O Technician to increase the level of support at that site for both staff and families. Phase
11       Two of restructuring the Early Childhood Program at San Miguel will include parent
12       education, five hubs for speech and infant services, staggered start to support Transitional
13       Kindergarten and Kindergarten students' transition to their home schools.
14              15.     The District piloted and adopted a new curriculum at San Miguel Preschool
15       in order to develop a common practice, and the pre-K assessment team has reviewed its
16       inventory of assessment tools in order to ensure that the assessment tools that are being
17       utilized meet current best practices.
18              I 6.    In order to provide preschool students in Special Day Classes with
19       opportunities to mainstream with general education students, the District successfully
20       worked with its State Pre-School partner to ensure that the morning and afternoon classes
21       hosted at San Miguel Preschool have dedicated slots for our students to mainstream into.
22       In addition, the District is sharing a Speech and Language Pathologist with the State Pre-
23       School paiiner to ensure that students identified through the District's screening process
24       are receiving Speech and Language Response to Intervention (RtI) services and are
25       monitored for either exit of services or scheduled for a full assessment.
26             17.      The District has aligned Speech and Language Pathologist assignments and
27       the delivery of Speech and Language services at the District's Neighborhood for Learning
28       ("NfL") hubs to provide a better continuum of care for families within the District.
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            Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                                    Motion for Class Certification
Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 8 of 10 Page ID #:2102




     1                                          Assessment Tools
 2                18.   Since I became Director of Special Education, the District has centralized
 3        and increased its inventory of assessments, and the Special Education Department has
 4       provided assessors with the necessary training on how to use, score, and analyze
 5       assessment results, especially in regards to English Learners.
 6                                                 Consultants
 7                19.   Since I became Director of Special Education, the District has hired a
 8       consultant to work with our staff on reviewing past IEPs in order to determine whether the
 9       goals stated in the IEPs were appropriate and to help develop a plan for identifying
1O services that will help students meet their IEP goals. The Consultant is also helping the
11       Special Education Department to identify further professional development needs for its
12       teaching staff.
13                20.   The District also hired a consultant to review caseloads, trends, and to support
14       caseload management.
15                21.   The District also hired consultants to provide professional development in
16       the Personal Strengths and Weaknesses model of assessment and to train the District's
17       Speech and Language Pathologists on the Communication Severity Scales ("CSS")
18       protocol for OSD and the Ventura County SELPA and to ensure that the District's Speech
19       and Language Pathologists are using the proper assessments to recommend appropriate
20       frequency and intensity of therapy.
21               22.    In addition, the District has hired a consultant to assist the Special Education
22       Department to develop a comprehensive Behavior Support Plan for the District. The
23       District is also piloting a program to train paraeducators on behavior modalities. The
24       District also has a contract with an outside agency to provide the Special Education
25       Department with trained staff to augment the District's staff when needed as it builds its
26       own staffing capacity.
27       III
28       III
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               Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                  ,                    Motion for Class Certification
Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 9 of 10 Page ID #:2103




     1       OSD's Process for Identifying and Assessing Students with Suspected Disabilities
     2          23.    Based on my understanding, OSD's practice for identifying and assessing
     3    students for special education assessment is legally compliant with the Individuals with
     4    Disabilities Education Act ("IDEA") and California law.
     5          24.    In OSD, a student may be referred for special education assessment upon
 6        Parent request or upon the request of a teacher or other staff person who believes that a
 7        student has a suspected disability that impacts the student's involvement and progress in
 8        the general education setting and/or participation in age appropriate activities. Upon
 9       receiving a request for special education assessment, each school site is expected to
IO       respond to the request within the legal timeline of 15 calendar days with a proposed
11       assessment plan. In some cases, a Student Success Team (SST) may be convened within
12        15 days of the request for assessment so that the SST may receive input from the student's
13       parent, the student's teacher, and other school staff regarding any concerns relating to the
14       student. This information is then used to generate a multidisciplinary assessment plan
15       (MAP), which is presented to Parent for consent to assess his or her student for all areas
16       of suspected disability. The same process and time line is followed whether the request for
17       assessment originates from a parent or from a school staff person.
18              25.   In addition to direct requests for assessment by Parent or school staff,
19       students may also be referred for special education assessment after having been referred
20       to a Coordination of Services Team (COST) and/or a Student Success Team (SST). The
21       District's Child Find duty toward a specific child is triggered when there is knowledge of,
22       or reason to suspect, a disability and reason to suspect that special education services may
23       be needed to address that disability. Sometimes a student's disability is not obvious and/or
24       does not immediately raise a reasonable suspicion of its existence. In these instances,
25       students who struggle in the general education setting may be referred to COST or SST.
26       If a child who has been referred to COST or SST does not make adequate progress after
27       general education interventions are utilized to attempt to address the concerns that were
28       raised in the student's referral to COST or SST, the COST or SST may refer a student for
                                                       8
             Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                                         Motion for Class Certification
Case 2:17-cv-04304-JAK-FFM Document 81 Filed 12/12/17 Page 10 of 10 Page ID #:2104




   1   special education assessment to detennine whether the student qualifies for special
   2   education services and/or related services.
   3         26.    There are multiple factors that detennine whether a student should be referred
   4   for special education assessment. These factors include whether a parent or staff person
   5 (including a teacher) expressly requests that a student be assessed, whether the COST or
   6   SST detennines that an assessment is necessary after progress monitoring and response to
   7   intervention, or even whether a student manifests an obvious disability that interferes with
   8   his or her ability to participate in the general education setting. Accordingly, every
   9   decision to assess a student for special education is based on a highly individualized set
  IO   of factors and is made on a case-by-case basis.
  11         I deciare under penalty of perjury under the laws of the United States that the
  12   foregoing is true and correct.
  13         Executed this 11th day of December
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           Declaration of Amelia Sugden in Support of Defendant's Opposition to Plaintiffs'
                                   Motion for Class Certification
